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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

GUILLERMO ROBLES​,                           )     Case No. 1:17-cv-01302
an individual,                               )
                                             )
        Plaintiff,                           )
                                             )     Trial by Jury Demanded
vs.                                          )
                                             )
KRAFT FOODS GROUP, INC​.,
a Virginia corporation resident and doing
                                             )
business in Illinois,                        )
                                             )
          Defendant.                         )


            COMPLAINT FOR INJUNCTIVE RELIEF,
  CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF

       Plaintiff, Guillermo Robles, (“Plaintiff”), by and through his attorneys, for

his complaint against Defendant, Kraft Foods Groups, Inc., states as follows:

                                    INTRODUCTION

       1.        Plaintiff is a blind and visually-impaired person who requires

screen-reading software to read website content using his computer and on his

iPhone.

       2.        Plaintiff uses the terms “blind” or “visually-impaired” to refer to all

people with visual impairments who meet the legal definition of blindness in that

they have a visual acuity with correction of less than or equal to 20 x 200. Some


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blind people who meet this definition have limited vision. Others have no vision.

      3.     Plaintiff brings this civil rights action against Kraft KRAFT FOOD

GROUPS, INC. (“Kraft” or “Kraft”) for its failure to design, construct, maintain,

and operate its websites, ​Gevalia.com and Gevalia.com/on/demandware.store/

Sites-Gevalia/default/mHome-Show (the “websites” or “Kraft’s websites”) to be

fully accessible to and independently usable by Plaintiff and other blind or

visually-impaired people.

      4.     Kraft’s denial of full and equal access to its websites, and therefore

denial of its products and services offered thereby is a violation of Plaintiff’s rights

under the Americans with Disabilities Act (“ADA”) ​and California’s Unruh Civil

Rights Act (“UCRA”).

      5.     Because Kraft’s websites, Gevalia.com and its mobile website,

Gevalia.com/on/demandware.store/Sites-Gevalia/default/mHome-Show, are not

fully and equally accessible to blind and visually-impaired consumers in violation

of the ADA, Plaintiff seeks a permanent injunction to cause a change in Kraft’s

corporate policies, practices, and procedures so that Kraft’s full and mobile

websites will become and remain accessible to blind and visually-impaired

consumers, including Plaintiff.




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                          JURISDICTION AND VENUE

      6.     This Court has subject-matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III

of the ADA, 42 U.S.C. § 12181, ​et seq.

      7.     This Court has supplemental jurisdiction over Plaintiff’s non-federal

claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s UCRA claims are so

related to Plaintiff’s federal ADA claims, they form part of the same case or

controversy under Article III of the United States Constitution

      8.     This Court has personal jurisdiction over Kraft because it is deemed a

resident of the State of Illinois and it conducts and continues to conduct a

substantial and significant amount of business in the State of Illinois.

      9.     Venue is proper in the Northern District of Illinois pursuant to 28

U.S.C. §1391(b)(1) because Kraft resides in this District and this Court has

personal jurisdiction over Kraft.

                                     PARTIES

      10.    Plaintiff, at all times relevant and as alleged herein, is a resident of

California, County of Los Angeles. Plaintiff is also blind, visually-impaired, a

handicapped person, and a member of a protected class of individuals under the

ADA, pursuant to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the


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ADA, set forth at 28 C.F.R. §§ 36.101 ​et seq.

      11.    Kraft is one of North America’s largest consumer packaged food and

beverage companies, and its headquarters are located in Northfield, Illinois.

      12.    Kraft offers its Gevalia brand of coffee for sale on the full website,

Gevalia.com,    and   its   mobile   website,    Gevalia.com/on/demandware.store/

Sites-Gevalia /default/mHome-Show, which provides to the public important

goods and services.

      13.    Kraft’s websites provide consumers with access to an array of goods

and services including product descriptions, online sales for coffee and

coffeemakers, exclusive online pricing offers, free auto-delivery offers, locations

where consumers can physically buy Gevalia coffee products, and many other

benefits related to these goods and services.

      14.    Kraft’s website is a public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7) because the website Gevalia.com is a

part of a “sales or rental establishment,” and a “service establishment.”

      15.    Kraft has been and is committing the acts or omissions alleged herein

in Los Angeles County of the State of California which caused injury, and violated

rights prescribed by the ADA and UCRA, to Plaintiff and to other blind and other

visually impaired-consumers. A substantial part of the acts and omissions giving


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rise to Plaintiff’s claims occurred in California. Specifically, on several separate

occasions, Plaintiff has been denied the full use and enjoyment of the facilities,

goods, and services of Kraft’s websites in Los Angeles County. The access barriers

Plaintiff encountered on Kraft’s websites have caused a denial of Plaintiff’s

independent, full and equal access multiple times in the past, and now deter

Plaintiff on a regular basis from accessing Kraft’s websites.

  THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET

      16.    The Internet has become a significant source of information, a portal,

and a tool for conducting business, doing everyday activities such as shopping,

learning, banking, researching, as well as many other activities for sighted, blind

and visually-impaired persons alike.

      17.    In today's tech-savvy world, blind and visually-impaired people have

the ability to use computers and smartphones to access websites and other digital

content using keyboards or smartphone screens in conjunction with screen access

software that vocalizes the visual information found on a computer or smartphone

screen or the content can be read by a user on a refreshable Braille display. This

technology is known as screen-reading software. Screen-reading software

programs are commonly referred to as “screen-readers.”

      18.    Screen-reading software is currently the only method a blind or


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visually-impaired person may independently access the internet, websites and other

digital content.

      19.     Unless websites are designed to be accessible using screen-reading

software, blind and visually-impaired persons, such as Plaintiff, are unable to fully

and equally access websites, and the information, products, and services contained

thereon.

      20.     Blind     and    visually-impaired   users   of   Windows    operating

system-enabled computers and devices have several screen-reading software

programs available to them. Some of these programs are available for purchase

and other programs are available without the user having to purchase the program

separately.

      21.     Job Access With Speech, otherwise known as “JAWS,” is currently

the most popular, separately purchased and downloaded screen-reading software

program available for a Windows computer.

      22.     For     blind   and   visually-impaired   users of Apple operating

system-enabled computers and devices, the screen-reading software available and

built into all Apple products is VoiceOver. Apple’s devices, including the iPhone,

have the VoiceOver program integrated into their iOS operating system for use by

blind and visually-impaired users, including Plaintiff.


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      23.       For ​screen-reading software to function, the information on a website

must be capable of being rendered into text so it may be read back to the user or

readable on a refreshable Braille display, so a user may navigate the websites and

the various web pages within a website using their keyboard or by moving their

fingers over their smartphone’s screen.

      24.       If the website content is not capable of being rendered into text, the

blind or visually-impaired user is unable to access and navigate the same content

on a website that is available to sighted users.

      25.       The international website standards organization, the World Wide

Web Consortium, known throughout the world as W3C, has published Success

Criteria for version 2.0 of the Web Content Accessibility Guidelines ("WCAG 2.0"

hereinafter).

      26.       WCAG 2.0 are well-established guidelines for making websites

accessible to blind and visually-impaired people.

      27.       WCAG 2.0 is almost universally followed by most large business

entities who want to ensure the websites they offer to the public are accessible to

individuals who use screen-reading software. Though WCAG 2.0 has not been

formally adopted as the standard for making websites accessible, it is one of, if not

the most, valuable resource for companies to operate, maintain, and provide


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commercial websites that are accessible to the public, equally, as required by the

ADA.

       28.        Some of the Success Criteria contained in WCAG 2.0 is also assistive

for businesses to make mobile websites equally accessible to blind and

visually-impaired users of the iPhone and other operating systems. Apple, the

developer and manufacturer of iPhones, also provide iOS accessibility guidelines

for its mobile devices like the iPhone, which assist iOS developers to make mobile

websites accessible to blind and visually-impaired individuals. Apple’s guidelines

are available online at:

https://developer.apple.com/library/ios/documentation/UserExperience/Conceptual

/iPhoneAccessibility/Introduction/Introduction.html​.

       29.        Inaccessible or otherwise non-compliant websites pose significant

access barriers to blind and visually-impaired persons.

       30.        Common barriers encountered by blind and visually impaired persons

include, but are not limited to, the following:

             a.    A text equivalent for every non-text element is not provided;

             b.    Title frames with text are not provided for identification and

                   navigation;

             c.    Equivalent text is not provided when using scripts;


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    d.   Forms with the same information and functionality as for sighted

         persons are not provided;

    e.   Information about the meaning and structure of content is not

         conveyed by more than the visual presentation of content;

    f.   Text cannot be resized without assistive technology up to 200

         percent without loss of content or functionality;

    g.   If the content enforces a time limit, the user is not able to extend,

         adjust or disable it;

    h.   Web pages do not have titles that describe the topic or purpose;

    i.   The purpose of each link cannot be determined from the link text

         alone or from the link text and its programmatically determined link

         context;

    j.   One or more keyboard operable user interface lacks a mode of

         operation where the keyboard focus indicator is discernible;

    k.   The default human language of each web page cannot be

         programmatically determined;

    l.   When a component receives focus, it may initiate a change in

         context;

    m. Changing the setting of a user interface component may


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                  automatically cause a change of context where the user has not been

                  advised before using the component;

            n.    Labels or instructions are not provided when content requires user

                  input;

            o.    In content which is implemented by using markup languages,

                  elements do not have complete start and end tags, elements are not

                  nested according to their specifications, elements may contain

                  duplicate attributes and/or any IDs are not unique;

            p.    Inaccessible Portable Document Format (PDFs); and,

            q.    The name and role of all User Interface elements cannot be

                  programmatically determined; items that can be set by the user

                  cannot be programmatically set; and/or notification of changes to

                  these items is not available to user agents, including screen-reading

                  software.

   KRAFT’S FAILURE TO MAKE ITS WEBSITES ACCESSIBLE AND
     PLAINTIFF’S ATTEMPTS TO ACCESS KRAFT’S WEBSITES

      31.        Kraft offers the commercial websites, ​Gevalia.com and its mobile

website,     Gevalia.com/on/demandware.store/Sites-Gevalia/default/mHome-Show,

to the public.



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         32.   These websites offer features which should allow all consumers to

access the goods and services which Kraft offers and should allow consumers to

locate physical locations where Kraft’s products may be purchased by consumers.

         33.   The goods and services offered by Kraft include, but are not limited to

the following, which should allow all consumers to: learn about Gevalia coffee

products, buy coffee and coffeemakers online, access special online pricing offers,

arrange auto-delivery options, find locations where to physically purchase Gevalia

coffee products, and many other benefits related to these goods and services.

         34.   Based on information and belief, it is Kraft's policy and practice to

deny Plaintiff, along with other blind or visually-impaired users, access to Kraft’s

websites, and to therefore specifically deny the goods and services that are offered

on its websites and available at retail stores.

         35.   Due to Kraft's failure and refusal to remove access barriers to its

websites, Plaintiff and visually-impaired persons have been and are still being

denied equal access to the numerous goods, services, and benefits offered to the

public     through   ​Gevalia.com    and   its    mobile   website,   Gevalia.com/on/

demandware.store/Sites-Gevalia/default/mHome-Show.

         36.   Plaintiff cannot use a computer without the assistance of

screen-reading software.


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       37.      However, Plaintiff is a proficient user of the JAWS screen-reader and

uses it to access the internet.

       38.      Plaintiff has visited ​Gevalia.com on several separate occasions using

the JAWS screen-reader.

       39.      Plaintiff regularly and proficiently uses an iPhone and its built-in

screen reader, VoiceOver, to access online content found on websites and mobile

applications.

       40.      Plaintiff has visited Gevalia.com/on/demandware.store/Sites-Gevalia/

default/mHome-Show on several separate occasions using the VoiceOver software

on his iPhone.

       41.      During several separate visits to Kraft’s websites, Plaintiff

encountered multiple access barriers which denied Plaintiff full and equal access to

the facilities, goods and services offered to the public and made available to the

public on Kraft’s websites.

       42.      Due to the widespread access barriers Plaintiff encountered on Kraft’s

websites, Plaintiff has been deterred, on a regular basis, from accessing Kraft’s

websites and is prevented from completing an online transaction with Kraft.

       43.      Similarly, the access barriers Plaintiff encountered on Kraft’s websites

have deterred Plaintiff from visiting or locating brick-and-mortar stores to purchase


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Kraft’s Gevalia brand coffee products.

      44.        While attempting to navigate ​Gevalia.com and Gevalia.com

/on/demandware.store/Sites-Gevalia/default/mHome-Show, Plaintiff encountered

multiple accessibility barriers for blind or visually-impaired people that include,

but are not limited to:

            a.    Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text is

                  invisible code embedded beneath an image on a website. For an

                  image to be accessible using a screen-reader, it requires that alt-text

                  be coded with each image so that screen-reading software can speak

                  the alt-text where a sighted user sees the image. Alt-text does not

                  change the visual presentation, but instead when the user has

                  reached the image by, pressing the tab or arrow keys, a text box

                  appears for the screen-reader to vocalize the alt-text coded for a

                  particular image. The lack of appropriate alt-text on images prevents

                  screen readers from accurately vocalizing a description of the

                  images. As a result, visually-impaired Kraft’s customers or potential

                  customers, are unable to determine what is on the website, browse,

                  find locations where Kraft’s products are sold, obtain information

                  and access to Kraft's programs and specials, or make any purchases;


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            b.    Empty Links That Contain No Text causing the function or purpose

                  of the link to not be presented to the user. This can introduce

                  confusion for keyboard and screen-reader users;

            c.    Redundant Links where adjacent links go to the same URL address

                  which results in additional navigation and repetition for keyboard

                  and screen-reader users; and

            d.    Linked Images Missing Alt-text, which causes problems if an image

                  within a link contains no text and that image does not have alt-text.

                  A screen reader then has no content to present the user as to the

                  function of the link, including information contained in PDFs.

      45.        Most recently in 2017, Plaintiff attempted to do business with Kraft

on ​Gevalia.com and Gevalia.com/on/demandware.store/Sites-Gevalia/default/

mHome-Show and Plaintiff encountered barriers to access on both websites.

      46.        Despite past and recent attempts to do business with Kraft on its

websites, the numerous access barriers contained on the websites and encountered

by Plaintiff, have denied Plaintiff full and equal access to Kraft’s websites.

      47.        Plaintiff, as a result of the barriers on Kraft’s websites, continues to be

deterred on a regular basis from accessing Kraft’s websites.

      48.        Due to the inaccessibility of ​Gevalia.com and Gevalia.com/on/


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demandware.store/Sites-Gevalia/default/mHome-Show,            blind    and    visually

-impaired consumers, such as Plaintiff, who need screen-readers, cannot fully and

equally use or enjoy the facilities, goods, and services Kraft offers to the public on

its websites.

      49.       The access barriers Plaintiff encountered on Kraft’s websites have

caused a denial of Plaintiff’s full and equal access multiple times in the past, and

now deter Plaintiff on a regular basis from accessing Kraft’s websites.

      50.       In addition, the access barriers Plaintiff encountered on Kraft’s

websites have deterred Plaintiff from visiting physical retail stores that offer

Kraft’s Gevalia brand coffee and other related products.

      51.       If ​Gevalia.com was equally accessible to all, Plaintiff could

independently navigate Kraft’s websites and complete a desired transaction as

sighted individuals do.

      52.       Having made many attempts to use Kraft’s websites, Plaintiff has

actual knowledge of the access barriers that make these services inaccessible and

independently unusable by blind and visually-impaired people.

      53.       Because maintaining and providing websites that are fully and equally

accessible to all consumers, using guidance of the Success Criteria outlined in the

WCAG 2.0 Guidelines, would provide Plaintiff and other visually-impaired


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consumers         with    full    and     equal     access    to    ​Gevalia.com     and

Gevalia.com/on/demandware.store/Sites-Gevalia/default/mHome-Show,                Plaintiff

alleges that Kraft has engaged in acts of intentional discrimination, including but

not limited to the following policies or practices:

            a.    Construction and maintenance of websites that are inaccessible to

                  visually-impaired individuals, including Plaintiff;

            b.    Failure to construct and maintain websites that are sufficiently

                  intuitive so as to be equally accessible to visually-impaired

                  individuals, including Plaintiff; and,

            c.    Failure to take actions to correct these access barriers in the face of

                  substantial harm and discrimination to blind and visually-impaired

                  consumers, such as Plaintiff, as a member of a protected class.

      54.        Kraft therefore uses standards, criteria or methods of administration

that have the effect of discriminating or perpetuating the discrimination of others,

as alleged herein.

      55.        The ADA expressly contemplates the type of injunctive relief that

Plaintiff seeks in this action. In relevant part, the ADA requires:

      “In the case of violations of . . . this title, injunctive relief shall include an
      order to alter facilities to make such facilities readily accessible to and
      usable by individuals with disabilities….Where appropriate, injunctive relief
      shall also include requiring the . . . modification of a policy. . .”

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      (42 U.S.C. § 12188(a)(2).)

      56.   Because Kraft’s websites have never been equally accessible, and

because Kraft lacks a corporate policy that is reasonably calculated to cause its

websites to become and remain accessible, Plaintiff invokes the provisions of 42

U.S.C. § 12188(a)(2), and seeks a permanent injunction requiring Kraft to retain a

qualified consultant acceptable to Plaintiff (“Agreed Upon Consultant”) to comply

with the ADA and make the websites accessible, utilizing the success criteria

outlined in the WCAG 2.0 Guidelines as a source of reference.

      57.   Plaintiff seeks that this permanent injunction require Kraft to

cooperate with the Agreed Upon Consultant to:

               a. Train Kraft’s employees and agents who develop the

                   Gevalia.com     and     Gevalia.com/on/demandware.store/Sites-

                   Gevalia/default/mHome-Show on accessibility and compliance

                   with the ADA using the Success Criteria outlined in the WCAG

                   2.0 Guidelines as a source of reference;

               b. Regularly check the accessibility of Kraft’s websites to

                   maintain accessibility as required by the ADA using the

                   Success Criteria outlined in the WCAG 2.0 Guidelines as a

                   source of reference;


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                c. Regularly test end-user accessibility of the websites by

                   screen-reader users to ensure that Kraft’s website is accessible

                   to blind and visually-impaired individuals who would access

                   the websites with screen-reading technology; and,

                d. Develop an accessibility policy that is clearly disclosed on its

                   websites, with contact information for users to report

                   accessibility-related problems and be provided with meaningful

                   resolution after Kraft has investigated and identified the

                   accessibility-related problem.

      58.    If ​Gevalia.com and Gevalia.com/on/demandware.store/Sites-Gevalia

/default/mHome-Show were accessible to screen-reader users, Plaintiff and

similarly situated blind and visually-impaired people could independently view

coffee and other related products, customize items for purchase, shop for, and

otherwise research Kraft’s products available online and at retail locations.

      59.    Although Kraft may currently have centralized policies regarding the

maintenance and operation of its websites, Kraft lacks a plan and policy reasonably

calculated to make its websites fully and equally accessible to, and independently

usable by, blind and other visually-impaired consumers.

      60.    Without injunctive relief, Plaintiff and other visually-impaired


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consumers will continue to be unable to independently use the Kraft's websites in

violation of their rights.

                                            COUNT I

         VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

             61.   Plaintiff re-alleges and incorporates by reference all paragraphs

alleged above and each and every other paragraph in this Complaint necessary or

helpful to state this cause of action as though fully set forth herein.

             62.   Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 ​et seq.,

provides:

             “No individual shall be discriminated against on the basis of disability in the
             full and equal enjoyment of the goods, services, facilities, privileges,
             advantages, or accommodations of any place of public accommodation by
             any person who owns, leases (or leases to), or operates a place of public
             accommodation.”


(42 U.S.C. § 12182(a).)

             63.   The ADA requires that the place of public accommodation not

discriminate in any way in which it interacts with the public, whether by selling
                                                                                   1
products at a physical location or over a virtual location on the Internet.


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    ​Chief
        Judge Richard Posner of the Seventh Circuit Court of Appeals stated in dicta that the core
meaning of the ADA’s definition of discrimination is that the owner or operator of a facility,
“whether in physical space or in electronic space” that is open to the public, cannot exclude
disabled persons from entering the facility and using it in the same manner as do nondisabled
persons. (​Doe v. Mutual of Omaha Ins. Co., 179 F.3d 557, 559 (7th Cir. 1999) (citing ​Carparts
Distrib. Ctr., Inc. v. Automotive Wholesaler’s Assoc. of New England, 37 F.3d 12, 19 (1st Cir.
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         64.   Kraft’s website, Gevalia.com is therefore a public accommodation

within the definition of Title III of the ADA, 42 U.S.C. § 12181.

         65.   Gevalia.com is a service, privilege, or advantage of Kraft’s online

store.

         66.   Gevalia.com​ is a service that is integrated with Kraft’s online store.

         67.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities the opportunity to participate in

or benefit from the goods, services, facilities, privileges, advantages, or

accommodations of an entity. (42 U.S.C. § 12182(b)(1)(A)(i).)

         68.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities an opportunity to participate in

or benefit from the goods, services, facilities, privileges, advantages, or

accommodation, which is equal to the opportunities afforded to other individuals.

(42 U.S.C. § 12182(b)(1)(A)(ii).)

         69.   Under Section 302(b)(2) of Title III of the ADA, unlawful

discrimination also includes, among other things:

         “[A] failure to make reasonable modifications in policies, practices, or
         procedures, when such modifications are necessary to afford such goods,

1994)). Judge Posner, expanded upon this language and stated that “[a]n insurance company can
no more refuse to sell a policy to a disabled person over the Internet than a furniture store can
refuse to sell furniture to a disabled person who enters the store.” (​Morgan v. Joint Admin. Bd.,
268 F.3d 456, 459 (7th Cir. 2001)).
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      services, facilities, privileges, advantages, or accommodations to individuals
      with disabilities, unless the entity can demonstrate that making such
      modifications would fundamentally alter the nature of such goods, services,
      facilities, privileges, advantages or accommodations; and a failure to take
      such steps as may be necessary to ensure that no individual with a disability
      is excluded, denied services, segregated or otherwise treated differently than
      other individuals because of the absence of auxiliary aids and services,
      unless the entity can demonstrate that taking such steps would
      fundamentally alter the nature of the good, service, facility, privilege,
      advantage, or accommodation being offered or would result in an undue
      burden.”

      (42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).)

      70.   The acts alleged herein constitute violations of Title III of the ADA,

and the regulations promulgated thereunder.

      71.   Plaintiff, who is a member of a protected class of persons under the

ADA, has a physical disability that substantially limits the major life activity of

sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A).

      72.   Furthermore, Plaintiff has been denied full and equal access to

Gevalia.com, has not been provided services which are provided to other patrons

who are not disabled, and has been provided services that are inferior to the

services provided to non-disabled persons.

      73.   Kraft has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

      74.   Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and


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rights set forth and incorporated therein, Plaintiff, requests relief as set forth below.

      WHEREFORE, ​Plaintiff prays for judgment in his favor and against Kraft,

as follows:

              1.    A Declaratory Judgment that, at the commencement of this

      action, Kraft was in violation of the specific requirements of Title III of the

      ADA 42 U.S.C. § 12181 ​et seq., and the relevant implementing regulations

      of the ADA, for Kraft’s failure to take action that was reasonably calculated

      to ensure that its websites are fully and equally accessible to, and

      independently usable by, blind and visually-impaired individuals;

              2.    A preliminary and permanent injunction enjoining Kraft from

      further violations of the ADA, 42 U.S.C. § 12181 ​et seq., with respect to its

      websites, ​Gevalia.com​;

              3.    A preliminary and permanent injunction requiring Kraft to take

      the steps necessary to make ​Gevalia.com readily accessible to and usable by

      blind and visually-impaired individuals;

              4.    For attorneys' fees and expenses pursuant to all applicable laws

      including, without limitation, pursuant to 42 U.S.C. § 12188(a)(1);

              5.    For compensatory damages including, but not limited to, mental

      anguish, loss of dignity, and any other intangible injuries suffered by the


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      Plaintiff as a result of Kraft’s discrimination;

             6.     For prejudgment interest to the extent permitted by law;

             7.     For costs of suit; and

             8.     For such other and further relief as this Court deems just and

      proper.

                                     COUNT II

    VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

      75.    Plaintiff re-alleges and incorporates by reference all paragraphs

alleged above and each and every other paragraph in this Complaint necessary or

helpful to state this cause of action as though fully set forth herein.

      76.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 ​et seq.,

provides:

             “No individual shall be discriminated against on the basis of disability
             in the full and equal enjoyment of the goods, services, facilities,
             privileges, advantages, or accommodations of any place of public
             accommodation by any person who owns, leases (or leases to), or
             operates a place of public accommodation.”

             (42 U.S.C. § 12182(a).)

      77.    The ADA requires that the place of public accommodation not

discriminate in any way in which it interacts with the public, whether by selling

products at a physical location or over a virtual location on the Internet. (​See


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Morgan v. Joint Admin. Bd., 268 F.3d 456, 459 (7th Cir. 2001)).

      78.    Kraft’s   website,     Gevalia.com/on/demandware.store/Sites-Gevalia

/default/mHome-Show, is therefore a public accommodation within the definition

of Title III of the ADA, 42 U.S.C. § 12181.

      79.    Gevalia.com/on/demandware.store/Sites-Gevalia/default/mHome-

Show is a service, privilege, or advantage of Kraft’s online store.

      80.    Gevalia.com/on/demandware.store/Sites-Gevalia/default/mHome-

Show is a service that is integrated with Kraft’s online store.

      81.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities the opportunity to participate in

or benefit from the goods, services, facilities, privileges, advantages, or

accommodations of an entity. (42 U.S.C. § 12182(b)(1)(A)(i).)

      82.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful

discrimination to deny individuals with disabilities an opportunity to participate in

or benefit from the goods, services, facilities, privileges, advantages, or

accommodation, which is equal to the opportunities afforded to other individuals.

(42 U.S.C. § 12182(b)(1)(A)(ii).)

      83.    Under Section 302(b)(2) of Title III of the ADA, unlawful

discrimination also includes, among other things:


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      “[A] failure to make reasonable modifications in policies, practices, or
      procedures, when such modifications are necessary to afford such goods,
      services, facilities, privileges, advantages, or accommodations to individuals
      with disabilities, unless the entity can demonstrate that making such
      modifications would fundamentally alter the nature of such goods, services,
      facilities, privileges, advantages or accommodations; and a failure to take
      such steps as may be necessary to ensure that no individual with a disability
      is excluded, denied services, segregated or otherwise treated differently than
      other individuals because of the absence of auxiliary aids and services,
      unless the entity can demonstrate that taking such steps would
      fundamentally alter the nature of the good, service, facility, privilege,
      advantage, or accommodation being offered or would result in an undue
      burden.”


      (42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).)

      84.   The acts alleged herein constitute violations of Title III of the ADA,

and the regulations promulgated thereunder.

      85.   Plaintiff, who is a member of a protected class of persons under the

ADA, has a physical disability that substantially limits the major life activity of

sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A).

      86.   Furthermore, Plaintiff has been denied full and equal access to

Gevalia.com, has not been provided services which are provided to other patrons

who are not disabled, and has been provided services that are inferior to the

services provided to non-disabled persons.

      87.   Kraft has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

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      88.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and

rights set forth and incorporated therein, Plaintiff, requests relief as set forth below.

      WHEREFORE, ​Plaintiff prays for judgment in his favor and against Kraft,

as follows:

              1.    A Declaratory Judgment that, at the commencement of this

      action, Kraft was in violation of the specific requirements of Title III of the

      ADA 42 U.S.C. § 12181 ​et seq., and the relevant implementing regulations

      of the ADA, for Kraft’s failure to take action that was reasonably calculated

      to ensure that its websites are fully accessible to, and independently usable

      by, blind and visually-impaired individuals;

              2.    A preliminary and permanent injunction enjoining Kraft from

      further violations of the ADA, 42 U.S.C. § 12181 ​et seq., with respect to its

      website      Gevalia.com/on/demandware.store/Sites-Gevalia/default/mHome-

      Show;

              3.    A preliminary and permanent injunction requiring Kraft to take

      the steps necessary to make Gevalia.com/on/demandware.store/Sites-

      Gevalia/default/mHome-Show readily accessible to and usable by blind and

      visually-impaired individuals;

              4.    For attorneys' fees and expenses pursuant to all applicable laws


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      including, without limitation, pursuant to 42 U.S.C. § 12188(a)(1);

             5.     For compensatory damages including, but not limited to, mental

      anguish, loss of dignity, and any other intangible injuries suffered by the

      Plaintiff as a result of Kraft’s discrimination;

             6.     For prejudgment interest to the extent permitted by law;

             7.     For costs of suit; and

             8.     For such other and further relief as this Court deems just and

      proper.

                                     COUNT III

                    VIOLATIONS OF THE
   UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL CODE § 51 ​et seq.

      89.    Plaintiff re-alleges and incorporates by reference all paragraphs

alleged above and each and every other paragraph in this Complaint necessary or

helpful to state this third cause of action as though fully set forth herein.

      90.    California Civil Code § 51 ​et seq. guarantees equal access for people

with disabilities to the accommodations, advantages, facilities, privileges, and

services of all business establishments of any kind whatsoever. Kraft is

systematically violating the UCRA, Civil Code § 51 ​et seq.

      91.    Kraft’s online stores are "business establishments" within the meaning



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of the Civil Code § 51 ​et seq. ​Kraft generates millions of dollars in revenue from

the sale of goods through its ​Gevalia.com website. Kraft’s website, ​Gevalia.com​, is

a service provided by Kraft that is inaccessible to patrons who are blind or

visually-impaired     like   Plaintiff.   This   inaccessibility   denies   blind   and

visually-impaired patrons full and equal access to the facilities, goods, and services

that Kraft makes available to the non-disabled public. Kraft is violating the UCRA,

Civil Code § 51 ​et seq., by denying visually-impaired customers the goods and

services provided on its website, Gevalia.com. These violations are ongoing.

      92.    Kraft’s actions constitute intentional discrimination against Plaintiff

on the basis of a disability, in violation of the UCRA, Civil Code § 51 ​et seq.,

because Kraft has constructed a website that is inaccessible to Plaintiff, Kraft

maintains the website in an inaccessible format, and Kraft has failed to take actions

to correct these barriers.

      93.    Kraft is also violating the UCRA, Civil Code § 51 ​et seq. because the

conduct alleged herein violates various provisions of the ADA, 42 U.S.C. § 12101

et seq., as set forth above. Section 51(f) of the Civil Code provides that a violation

of the right of any individual under the ADA also constitutes a violation of the

UCRA.

      94.    The actions of Kraft violate UCRA, Civil Code § 51 ​et seq., and


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Plaintiff is therefore entitled to injunctive relief remedying the discrimination.

      95.     Plaintiff is entitled to statutory minimum damages pursuant to Civil

Code § 52 for each and every offense.

      96.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

      WHEREFORE, ​Plaintiff prays for judgment in his favor and against Kraft,

as follows:

              1.    A preliminary and permanent injunction enjoining Defendant

      from violating the UCRA, Civil Code § 51 ​et seq. with respect to its website,

      Gevalia.com;

              2.    A preliminary and permanent injunction requiring Defendant to

      take the steps necessary to make Gevalia.com readily accessible to and

      usable by blind and visually-impaired individuals;

              3.    An award of statutory minimum damages of $4,000 per

      violation pursuant to § 52(a) of the California Civil Code;

              4.    For attorneys' fees and expenses pursuant to all applicable laws

      including, without limitation, pursuant California Civil Code § 52(a);

              5.    For pre-judgment interest to the extent permitted by law;

              6.    For costs of suit; and

              7.    For such other and further relief as this Court deems just and


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      proper.

                                      COUNT IV

                   VIOLATIONS OF THE
  UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL CODE § 51 ​et seq.

      97.    Plaintiff re-alleges and incorporates by reference all paragraphs

alleged above and each and every other paragraph in this Complaint necessary or

helpful to state this third cause of action as though fully set forth herein.

      98.    California Civil Code § 51 ​et seq. guarantees equal access for people

with disabilities to the accommodations, advantages, facilities, privileges, and

services of all business establishments of any kind whatsoever. Kraft is

systematically violating the UCRA, Civil Code § 51 ​et seq.

      99.    Kraft’s online stores are "business establishments" within the meaning

of the Civil Code § 51 ​et seq. ​Kraft generates millions of dollars in revenue from

the sale of goods through its Gevalia.com/on/demandware.store/Sites-Gevalia

/default/mHome-Show        website.    Kraft’s   mobile    website, G
                                                                    ​ evalia.com/on/


demandware.store/Sites-Gevalia/default/mHome-Show, is a service provided by

Kraft that is inaccessible to patrons who are blind or visually-impaired like

Plaintiff. This inaccessibility denies blind and visually-impaired patrons full and

equal access to the facilities, goods, and services that Kraft makes available to the



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non-disabled public. Kraft is violating the UCRA, Civil Code § 51 et seq., by

denying visually-impaired customers the goods and services provided on its mobile

website,   Gevalia.com/on/demandware.store/Sites-Gevalia/default/mHome-Show.

These violations are ongoing.

      100. Kraft’s actions constitute intentional discrimination against Plaintiff

on the basis of a disability, in violation of the UCRA, Civil Code § 51 ​et seq.,

because Kraft has constructed a mobile website that is inaccessible to Plaintiff,

Kraft maintains the mobile website in an inaccessible format, and Kraft has failed

to take actions to correct these barriers.

      101. Kraft is also violating the UCRA, Civil Code § 51 ​et seq. because the

conduct alleged herein violates various provisions of the ADA, 42 U.S.C. § 12101

et seq., as set forth above. Section 51(f) of the Civil Code provides that a violation

of the right of any individual under the ADA also constitutes a violation of the

UCRA.

      102. The actions of Kraft violate UCRA, Civil Code § 51 ​et seq., and

Plaintiff is therefore entitled to injunctive relief remedying the discrimination.

      103. Plaintiff is entitled to statutory minimum damages pursuant to Civil

Code § 52 for each and every offense.

      104. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


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      WHEREFORE, ​Plaintiff prays for judgment in his favor and against Kraft,

as follows:

              1.   A preliminary and permanent injunction enjoining Defendant

      from violating the UCRA, Civil Code § 51 ​et seq. with respect to its mobile

      website,

      Gevalia.com/on/demandware.store/Sites-Gevalia/default/mHome-Show;

              2.   A preliminary and permanent injunction requiring Defendant to

      take the steps necessary to make Gevalia.com/on/demandware.store/Sites-

      Gevalia/default/mHome-Show readily accessible to and usable by blind and

      visually-impaired individuals;

              3.   An award of statutory minimum damages of $4,000 per

      violation pursuant to § 52(a) of the California Civil Code;

              4.   For attorneys' fees and expenses pursuant to all applicable laws

      including, without limitation, pursuant California Civil Code § 52(a);

              5.   For pre-judgment interest to the extent permitted by law;

              6.   For costs of suit; and

              7.   For such other and further relief as this Court deems just and

      proper.




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                               JURY DEMAND

      Plaintiff hereby demands trial by jury.


Dated: February 20, 2017                        ​Respectfully submitted,

                                                /s/ Rusty A. Payton
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